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                                                                            Eastern District of Kentucky
                          UNITED STATES DISTRICT COURT
                                                                                  FILED
                          EASTERN DISTRICT OF KENTUCKY                           JUN 13 2018
                                 ASHLAND DIVISION
                          CIVIL ACTION NO. 0:17-cv-109-HRW                           AT ASHLAND
                                  Filed Electronically                            ROBERT R. CARR
                                                                              CLERK U.S. DISTRICT COURT


In re: 2789 Briary Road, Quincy, KY 41166


UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.

JOSEPH RAY RISTER, II, ET AL.                                              DEFENDANTS



                                    ENTRY OF DEFAULT

                                           *********

        It appearing that the Complaint herein was filed on October 6, 2017; the Defendant, Joseph
Ray Rister, II, has been served via appointment of Warning Order Attorney; Defendant, Unknown
Spouse of Joseph Ray Rister, II, has been served via appointment of Warning Order Attorney;
Defendant, Peggy L. Rister, has been served by appointment of Warning Order Attorney; and
Defendant Commonwealth of Kentucky Department Department of Revenue, Division of
Collections has been served via Summons, and that no answer or other pleading has been filed by
said defendants as required by law:

        NOW, THEREFORE, upon request of Plaintiff, default is hereby entered against the
Defendants, Joseph Ray Rister, II, Unknown Spouse of Joseph Ray Rister, II, Peggy L. Rister,
Commonwealth of Kentucky Department of Revenue Division of Collections as provided in Rule
55(a), Federal Rules of Civil Procedure.

       This the   l~ day of~               2018.

                                                    ROBERTR. CARR
                                                    U.S. DISTRICT COURT CLERK

                                                    By:       ~J~
                                                            DePlJtYCk
